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 5   Attorney for Defendant, Michael Ho
 6

 7                      IN THE UNITED STATES DISTRICT COURT FOR THE
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
                                                     )
10   UNITED STATES OF AMERICA,                       ) Case No.: 1:09-cr-00369 AWI
                                                     )
11                  Plaintiff,                       )
                                                     ) STIPULATION AND ORDER
12          vs.                                      ) REGARDING SENTENCING
                                                     )
13   MICHAEL HO,                                     )
                                                     )
14                  Defendant                        )
15
            IT IS HEREBY STIPULATED by and between Jeffrey T. Hammerschmidt, attorney
16   for defendant MICHAEL HO, and Kathleen Servatius, Assistant United States Attorney, that the
17   sentencing be continued from November 13, 2012, at 11:00 a.m., to December 11, 2012, at 11:00
18   a.m. The parties further agree to a new filing schedule for the defendant’s sentencing brief to be
19   filed on or before November 13, 2012 at 4:00 p.m. and the government’s reply to the defendant’s

20
     sentencing brief to be filed on or before November 27, 2012 at 4:00 p.m.

21
     Dated: October 18, 2012                      /s/ Kathleen Servatius
22                                                Kathleen Servatius
                                                  Assistant U.S. Attorney
23

24   Dated: October 18, 2012                      /s/ Jeffrey T. Hammerschmidt
                                                  Jeffrey T. Hammerschmidt
25
                                                  Attorney for Defendant,
26                                                Michael Ho

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                             Case 1:09-cr-00369-AWI Document 114 Filed 10/24/12 Page 2 of 3



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 8                                    IN THE UNITED STATES DISTRICT COURT FOR THE

 9                                             EASTERN DISTRICT OF CALIFORNIA

10
                                                             )
11   UNITED STATES OF AMERICA,                               ) Case No.: 1:09-cr-00369 AWI
                                                             )
12                                Plaintiff,                 )
                                                             )
13          vs.                                              )
                                                             )
14   MICHAEL HO,                                             )
                                                             )
15                                Defendant                  )

16

17                                                         ORDER
18          IT IS ORDERED that the November 13, 2012 sentencing date be vacated.
19          IT IS ORDERED that the sentencing will now occur on December 10, 2012 at 11:00 a.m.
20          IT IS ORDERED that the defendant’s sentencing brief shall be filed on or before
21   November 13, 2012 at 4:00 p.m. The government’s reply to the defendant’s sentencing brief
22   shall be filed on or before November 27, 2012 at 4:00 p.m
23

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25
     IT IS SO ORDERED.
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27
     Dated: October 23, 2012
            DEAC_Signature-END:
                                                      CHIEF UNITED STATES DISTRICT JUDGE
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